Case 1:02-cv-01239-MSK-KLM Document 420 Filed 12/08/17 USDC Colorado Page 1 of 6

Appellate Case: 17-1280          Document: 01019913405     Date Filed: 12/08/2017      Page: 1
                                                                                    FILED
                                                                       United States Court of Appeals
                                                                               Tenth Circuit
                            UNITED STATES COURT OF APPEALS
                                                                             December 8, 2017
                                         TENTH CIRCUIT                     Elisabeth A. Shumaker
                                                                               Clerk of Court


    MARK JORDAN,

              Plaintiff - Appellee,

    v.                                                           No. 17-1280
                                                   (D. C. No. 1:02-CV-01239-MSK-KLM)
    MICHAEL V. PUGH; J. YORK; R. E.                               (D. Colo.)
    DERR; B. SELLERS; STANLEY
    ROWLETT,

              Defendants - Appellees.

    ------------------------------

    FRANCIS SCHAEFFER COX,

              Movant - Appellant.



                                      ORDER AND JUDGMENT*


   Before BRISCOE, HARTZ, and BACHARACH, Circuit Judges.




          *
            After examining the briefs and appellate record, this panel has determined
   unanimously that oral argument would not materially assist in the determination of this
   appeal. See Fed. R. App. P. 34(a)(2); 10th Cir. R. 34.1(G). The case is, therefore,
   submitted without oral argument. This order and judgment is not binding precedent,
   except under the doctrines of law of the case, res judicata, and collateral estoppel. It may
   be cited, however, for its persuasive value consistent with Fed. R. App. P. 32.1 and 10th
   Cir. R. 32.1.
Case 1:02-cv-01239-MSK-KLM Document 420 Filed 12/08/17 USDC Colorado Page 2 of 6

Appellate Case: 17-1280        Document: 01019913405         Date Filed: 12/08/2017       Page: 2



             Francis Schaeffer Cox, a federal prisoner appearing pro se, appeals from the

   district court’s denial of his motion to intervene in a case previously filed by another

   inmate that is now closed. Exercising jurisdiction pursuant to 28 U.S.C. § 1291, we

   affirm.

                                                  I

             In 2002, a federal inmate named Mark Jordan, who at the time was housed in the

   Administrative Maximum Unit in Florence, Colorado, filed a lawsuit challenging the

   constitutionality of a prison regulation, 28 C.F.R. § 540.20(b), that forbid inmates from

   “act[ing] as a reporter or publish[ing] under a byline.” The Bureau of Prisons (BOP)

   interpreted the regulation as “prohibit[ing] inmates from publishing under a byline online

   in the ‘news media,’” which the BOP defined “as newspapers, news magazines, national

   and international news services, and TV and radio news programs.” Jordan v. Pugh, 504

   F. Supp. 2d 1109, 1112 (D. Colo. 2007). The case proceeded to a bench trial and the

   district court found in Jordan’s favor, concluding that the challenged regulation

   “violate[d] the First Amendment rights of Mr. Jordan, other inmates in federal

   institutions, and the press.” Id. at 1126. As part of the relief granted, the district court

   enjoined the BOP “from punishing any inmate for violation of” the challenged regulation.

   Id. Judgment in the case was entered on August 9, 2007. There was no appeal from the

   judgment and the case was closed.

             On May 23, 2017, appellant Cox, a federal inmate incarcerated at the United States

   Penitentiary in Marion, Illinois, filed a motion to intervene, both as of right and

                                                  2
Case 1:02-cv-01239-MSK-KLM Document 420 Filed 12/08/17 USDC Colorado Page 3 of 6

Appellate Case: 17-1280        Document: 01019913405       Date Filed: 12/08/2017        Page: 3



   permissively. In his motion, Cox alleged that in late 2016, the BOP had disciplined him

   for violating the regulation that was declared unconstitutional in Jordan. Cox in turn

   alleged that he was seeking to enforce against the BOP the injunction that had been

   entered in Jordan. In support of his motion, Cox submitted copies of BOP documents

   indicating that a prison disciplinary hearing officer (DHO) sanctioned him with

   disallowance of good conduct time credits and the temporary loss of commissary, phone

   and email privileges for “hav[ing] committed the prohibited act of Use of the Telephone

   for Abuses Other Than Criminal Activity, Code 297.” ROA, Vol. 1 at 92. In support, the

   DHO found that on November 3, 2016, Cox placed a telephone call to a pastor who was

   in the midst of conducting a regularly scheduled live internet program and, in turn, spoke

   with the pastor as part of the program that was broadcast to the internet audience.

          On June 16, 2017, the district court summarily denied Cox’s motion, noting that

   there was “no currently-pending action in which [he] could intervene.” Id. at 97.

          On July 18, 2017, Cox filed a motion for reconsideration of the district court’s

   ruling. On July 19, 2017, the district court denied his motion for reconsideration by a

   text-only docket entry that stated:

          Mr. Cox’s reliance upon Floyd v. Ortiz, 300 F.3d 1223 (10th Cir. 2002), is
          misplaced for several reasons. Unlike in that case, the judgment entered
          here in favor of Mr. Jordan was not intended to be enforceable by inmates
          other than Mr. Jordan, nor did the Court retain jurisdiction over the matter
          in anticipation of further proceedings. To the extent Mr. Cox believes that
          his First Amendment rights are being infringed by the Federal Bureau of
          Prisons, he is free to commence his own lawsuit assering [sic] as much.

   Dist. Ct. Docket No. 415.

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Case 1:02-cv-01239-MSK-KLM Document 420 Filed 12/08/17 USDC Colorado Page 4 of 6

Appellate Case: 17-1280       Document: 01019913405          Date Filed: 12/08/2017      Page: 4



           Cox filed a timely notice of appeal.

                                                  II

           An order denying intervention is a final and appealable order if it prevents a

   putative party from participating in litigation. Equal Emp’t Opportunity Comm’n v. PJ

   Utah, LLC, 822 F.3d 536, 539 (10th Cir. 2016). We review de novo a district court’s

   denial of a motion to intervene as of right under Federal Rule of Civil Procedure 24(a).

   Id. We review for abuse of discretion a district court’s denial of a motion to permissively

   intervene under Federal Rule of Civil Procedure 24(b). Id.

           Intervention is governed generally by Federal Rule of Civil Procedure 24. As

   outlined in Rule 24, the right to intervene, either unconditionally or conditionally, can be

   afforded by a federal statute. Fed. R. Civ. P. 24(a)(1) and (b)(1)(A). No such right is at

   play in this case, however, and Cox does not assert otherwise. Rule 24 also requires a

   district court to permit intervention if the movant “claims an interest relating to the

   property or transaction that is the subject of the action, and is so situated that disposing of

   the action may as a practical matter impair or impede the movant’s ability to protect its

   interest.” Fed. R. Civ. P. 24(a)(2). Again, however, no such interest is at issue in this

   case.

           For Cox, who is neither a government officer or agency as required by Federal

   Rule of Civil Procedure 24(b)(2), that leaves only one other avenue for intervention: that

   he “has a claim or defense that shares with the main action a common question of law or

   fact.” Fed. R. Civ. P. 24(b)(1)(B). Although Cox’s motion alleged on its face that his

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Case 1:02-cv-01239-MSK-KLM Document 420 Filed 12/08/17 USDC Colorado Page 5 of 6

Appellate Case: 17-1280       Document: 01019913405         Date Filed: 12/08/2017      Page: 5



   claim against BOP officials shared a common question of law with Jordan, i.e., the

   constitutionality of 28 C.F.R. § 540.20(b), the BOP documents he submitted in support of

   his motion belie that allegation. Those documents indicate that Cox was not punished for

   violating § 540.20(b), but rather for violating an entirely different disciplinary code

   provision. Thus, his claim against BOP officials does not, in fact, share with Jordan a

   common question of law or fact.

          Thus, in sum, we conclude that Cox failed to assert a valid basis for intervening in

   Jordan.

          AFFIRMED.

                                                     Entered for the Court



                                                     Mary Beck Briscoe
                                                     Circuit Judge




                                                 5
Case 1:02-cv-01239-MSK-KLM Document 420 Filed 12/08/17 USDC Colorado Page 6 of 6

Appellate Case: 17-1280      Document: 01019913413             Date Filed: 12/08/2017   Page: 1
                           UNITED STATES COURT OF APPEALS
                               FOR THE TENTH CIRCUIT
                                OFFICE OF THE CLERK
                                 Byron White United States Courthouse
                                          1823 Stout Street
                                       Denver, Colorado 80257
                                           (303) 844-3157
   Elisabeth A. Shumaker                                                              Chris Wolpert
   Clerk of Court                      December 08, 2017                         Chief Deputy Clerk




   Francis Schaeffer Cox
   USP - Marion
   P.O. Box 1000
   Marion, IL 62959
   #16179-006
   RE:       17-1280, Jordan, et al v. Pugh, et al
             Dist/Ag docket: 1:02-CV-01239-MSK-KLM

   Dear Appellant:

   Enclosed is a copy of the order and judgment issued today in this matter. The court has
   entered judgment on the docket pursuant to Fed. R. App. P. Rule 36.

   Please contact this office if you have questions.

                                                 Sincerely,



                                                 Elisabeth A. Shumaker
                                                 Clerk of the Court



   cc:       Paul Farley
             Laura Rovner
   EAS/na
